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                                                 U.S. Department of Justice
                                                 United States Attorney
                                                 District of New Jersey

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                                                 March 3, 2017

Hon. Stanley R. Chesler
United States District Judge
United States Post Office & Courthouse
Federal Square
Newark, New Jersey 07102

         Re:      United States v. Rahman Fulton, Crim. No. 13-261 (SRC)

Dear Judge Chesler:

      Please accept this letter in lieu of a more formal response to the
defendant’s Motion to Dismiss Indictment for Lack of Subject Matter
Jurisdiction (Docket Entry 97). In that motion, the defendant seeks to “dismiss
the indictment and conviction . . . pursuant to the Federal Rules of Civ. Proc.,
12(b)(1) and 12(h)(3).”

       The authority of a District Court to modify its judgments is found in
Federal Rules of Criminal Procedure 33, 35, 36, and through 18 U.S.C.
§ 3582(c)(2), and 28 U.S.C. § 2255. Because the defendant is challenging the
validity of his conviction on legal grounds, as opposed to supposedly newly
discovered evidence, the only vehicle that would permit the defendant to press
his claim is a Section 2255 motion. A Section 2255 motion, however, would be
premature at this stage because the time for the defendant to petition for a writ
of certiorari has not expired. See Kapral v. United States, 166 F.3d 565, 572 (3d
Cir. 1999) (holding that a district court should not consider a Section 2255
motion while an appeal is pending, at least in the absence of “extraordinary
circumstances.”)1 Thus, even were this Court to reclassify the motion as a


1      In this case, the court of appeals’ judgment was entered on February 8, 2017. If
the defendant does not file a petition for certiorari, the judgment of conviction will
become final on May 9, 2017—90 days after the court of appeals’ judgment was
entered. See Clay v. United States, 537 U.S. 522 (2003). If the defendant files a petition
for certiorari, the judgment of conviction becomes final if the Supreme Court denies
the cert. petition (or affirms the defendant’s conviction on the merits). See, e.g., United
States v. Hicks, 283 F.3d 380, 387 (D.C. Cir. 2002); United States v. Segers, 271 F.3d
181, 186 (4th Cir. 2001); Green v. United States, 260 F.3d 78, 84 (2d Cir. 2001);
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Section 2255 motion, there would be no point in requiring a responsive
pleading at this juncture.

       Additionally, if this Court does reclassify the motion as a Section 2255
motion, it should notify the defendant (and his current counsel) of the court’s
intent to do so, warn him of the consequences of that recharacterization, and
provide him with an opportunity to either withdraw the motion or “amend it so
that it contains all of the § 2255 claims he believes he has.” Castro v. United
States, 540 U.S. 375, 383 (2003); see Piller v. Ford, 542 U.S. 225, 233 (2004).

                                              Respectfully submitted,

                                              PAUL J. FISHMAN
                                              United States Attorney

                                              /s Daniel Shapiro

                                       BY:    DANIEL SHAPIRO
                                              Assistant United States Attorney

cc:   Carol Gillen and K. Anthony Thomas, AFPDS (via ECF)

      Mr. Rahman Fulton #64940-050
      Allenwood Federal Correctional Institution
      PO Box 2000
      White Deer, PA 17887 (via Regular Mail)




Washington v. United States, 243 F.3d 1299, 1300 (11th Cir. 2001) (citing cases from
five other circuits).

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